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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                               §
                                                     §
ERIN ENERGY CORPORATION, et                          §                  Case No. 18-32106
al.,1                                                §
      Debtors.                                       §                 Chapter 11
                                                     §
                                                     §         (Joint Administration Requested)

                                    CERTIFICATE OF SERVICE
                                     (Relates to Docket No. 178)

         Pursuant to the Affidavit of Service attached hereto as Exhibit “A” and signed by the

Nigerian Counsel for ERN and EPNL, a true and correct copy of Debtor’s Emergency Motion

for the Entry of an Order Pursuant to Sections 105(a) an 362 of the Bankruptcy Code Holding

Zenith Bank PLC in Contempt for Violating the Automatic Stay (Doc. No. 178) was hand-

delivered by Onesimus Batur on June 8, 2018 to Kenna Partners and to Zenith Bank PLC on

June 11, 2018 at their respective offices in the Lagos State, Nigeria.

         Respectfully submitted this 11th day of June, 2018.




1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
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                             PROPOSED ATTORNEYS FOR THE
                             DEBTORS
